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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK
_______________________________________________
                                                 :
UNITED STATES SECURITIES AND                     :
EXCHANGE COMMISSION                              :
                                                 :
              Plaintiff,                         :
                                                 :
              vs.                                : No. 1:18-cv-8865-AJN-GWG
                                                 :
ELON MUSK,                                       :
                                                 :
              Defendant.                         :
                                                 :
________________________________________________ :

                         CONSENT OF DEFENDANT ELON MUSK

        1.       Defendant Elon Musk (“Defendant”) waives service of a summons and the

 complaint in this action, enters a general appearance, and admits the Court’s jurisdiction over

 Defendant in this action only and over the subject matter of this action.

        2.       Without admitting or denying the allegations of the complaint (except as provided

 herein in paragraph 13 and except as to personal jurisdiction as to this matter only and subject

 matter jurisdiction, which Defendant admits), Defendant hereby consents to the entry of the final

 Judgment in the form attached hereto (the “Final Judgment”) and incorporated by reference

 herein, which, among other things:

                 (a)    permanently restrains and enjoins Defendant from violation of Section

                        10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

                        U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

                 (b)    orders Defendant to pay a civil penalty in the amount of $20,000,000

                        under Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]; and

                 (c)    requires Defendant to comply with the undertaking set forth in this

                        Consent and incorporated in the Final Judgment.

        3.       Defendant acknowledges that the civil penalty paid pursuant to the Final
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Judgment may be distributed pursuant to the Fair Fund provisions of Section 308(a) of the

Sarbanes-Oxley Act of 2002, as amended. Regardless of whether any such Fair Fund

distribution is made, the civil penalty shall be treated as a penalty paid to the government for all

purposes, including all tax purposes. To preserve the deterrent effect of the civil penalty argue

that he is entitled to, nor shall he further benefit by, offset or reduction of any award of

compensatory damages in any Related Investor Action by the amount of any part of Defendant’s

payment of a civil penalty in this action (“Penalty Offset”). If the court in any Related Investor
Action grants such a Penalty Offset, Defendant agrees that he shall, within 30 days after entry of

a final order granting the Penalty Offset, notify the Commission’s counsel in this action and pay

the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as the

Commission directs. Such a payment shall not be deemed an additional civil penalty and shall

not be deemed to change the amount of the civil penalty imposed in this action. For purposes of

this paragraph, a “Related Investor Action” means a private damages action brought against

Defendant by or on behalf of one or more investors based on substantially the same facts as

alleged in the Complaint in this action.

       4.       Defendant agrees that he shall not seek or accept, directly or indirectly,

reimbursement or indemnification from any source, including but not limited to payment made

pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays

pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof

are added to a distribution fund or otherwise used for the benefit of investors. Defendant further

agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any

federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final

Judgment, regardless of whether such penalty amounts or any part thereof are added to a

distribution fund or otherwise used for the benefit of investors.
       5.       Defendant undertakes to:

                (a)    resign from his role as Chairman of the Board of Directors of Tesla, Inc.

                       (“Chairman”) within forty-five (45) days of the filing of this Consent and


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                       agree not to seek reelection or to accept an appointment as Chairman for a

                       period of three years thereafter. Upon request by Defendant, the

                       Commission staff may grant in its sole discretion an extension to the

                       deadline set forth above;

                (b)    comply with all mandatory procedures implemented by Tesla, Inc. (the

                       “Company”) regarding (i) the oversight of communications relating to the

                       Company made in any format, including, but not limited to, posts on
                       social media (e.g., Twitter), the Company’s website (e.g., the Company’s

                       blog), press releases, and investor calls, and (ii) the pre-approval of any

                       such written communications that contain, or reasonably could contain,

                       information material to the Company or its shareholders; and

                (c)    certify, in writing, compliance with undertaking (a) set forth above. The

                       certification shall identify the undertaking, provide written evidence of

                       compliance in the form of a narrative, and be supported by exhibits

                       sufficient to demonstrate compliance. The Commission staff may make

                       reasonable requests for further evidence of compliance, and Defendant

                       agrees to provide such evidence. Defendant shall submit the certification

                       and supporting material to Steven Buchholz, Assistant Regional Director,

                       U.S. Securities and Exchange Commission, 44 Montgomery Street, 28th

                       Floor, San Francisco, CA 94104, with a copy to the Office of Chief

                       Counsel of the Enforcement Division, 100 F Street NE, Washington, DC

                       20549, no later than fourteen (14) days from the date of the completion of

                       the undertaking.

       6.       Defendant waives the entry of findings of fact and conclusions of law pursuant to
Rule 52 of the Federal Rules of Civil Procedure.

       7.       Defendant waives the right, if any, to a jury trial and to appeal from the entry of

the Final Judgment.


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       8.       Defendant enters into this Consent voluntarily and represents that no threats,

offers, promises, or inducements of any kind have been made by the Commission or any

member, officer, employee, agent, or representative of the Commission to induce Defendant to

enter into this Consent.

       9.       Defendant agrees that this Consent shall be incorporated into the Final Judgment

with the same force and effect as if fully set forth therein.

       10.      Defendant will not oppose the enforcement of the Final Judgment on the ground,
if any exists, of lack of compliance with Rule 65(d) of the Federal Rules of Civil Procedure, and

hereby waives any objection based thereon.

       11.      Defendant waives service of the Final Judgment and agrees that entry of the Final

Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant

of its terms and conditions. Defendant further agrees to provide counsel for the Commission,

within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit

or declaration stating that Defendant has received and read a copy of the Final Judgment.

       12.      Consistent with 17 C.F.R. § 202.5(f), this Consent resolves only the claims

asserted against Defendant in this civil proceeding. Defendant acknowledges that no promise or

representation has been made by the Commission or any member, officer, employee, agent, or

representative of the Commission with regard to any criminal liability that may have arisen or

may arise from the facts underlying this action or immunity from any such criminal liability.

Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,

including the imposition of any remedy or civil penalty herein. Defendant further acknowledges

that the Court’s entry of a permanent injunction may have collateral consequences under federal

or state law and the rules and regulations of self-regulatory organizations, licensing boards, and

other regulatory organizations. Such collateral consequences include, but are not limited to, a
statutory disqualification with respect to membership or participation in, or association with a

member of, a self-regulatory organization. This statutory disqualification has consequences that

are separate from any sanction imposed in an administrative proceeding. In addition, in any


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disciplinary proceeding before the Commission based on the entry of the injunction in this

action, Defendant understands that he shall not be permitted to contest the factual allegations of

the complaint in this action.

        13.     Defendant understands and agrees to comply with the terms of 17 C.F.R. §

202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant or

respondent to consent to a judgment or order that imposes a sanction while denying the

allegations in the complaint or order for proceedings,” and “a refusal to admit the allegations is
equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies

the allegations.” As part of Defendant’s agreement to comply with the terms of Section 202.5(e),

Defendant: (i) will not take any action or make or permit to be made any public statement

denying, directly or indirectly, any allegation in the complaint or creating the impression that the

complaint is without factual basis; (ii) will not make or permit to be made any public statement

to the effect that Defendant does not admit the allegations of the complaint, or that this Consent

contains no admission of the allegations, without also stating that Defendant does not deny the

allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any papers filed in

this action to the extent that they deny any allegation in the complaint; and (iv) stipulates solely

for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code [11

U.S.C. § 523] that the allegations in the complaint are true, and further, that any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under the

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code [11 U.S.C. § 523(a)(19)]. If Defendant breaches this

agreement, the Commission may petition the Court to vacate the Final Judgment and restore this
action to its active docket. Nothing in this paragraph affects Defendant’s: (i) testimonial

obligations; or (ii) right to take legal or factual positions in litigation or other legal proceedings

in which the Commission is not a party.


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